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                          UNITED STATES DISTRICT COURT
                                    District of New Mexico
                                  333 Lomas Boulevard NW
                               Albuquerque, New Mexico 87102


   WILLIAM P. LYNCH                                                              (505) 348-2300
 United States Magistrate Judge                                                Fax: (505) 348-2305


Dear Counsel:

        Pursuant to Rule 73(b) of the Federal Rules of Civil Procedure and District of New Mexico
Local Civil Rule 73.1, you have been notified on CM-ECF that this case has been assigned to me to
preside over all dispositive motions, evidentiary hearings and trial. If you choose to consent to me
as your trial judge you must file a notice of consent. In deciding whether or not to consent, you
should know that I plan to retire on September 3, 2017. If you consent to me but this case is not
completed by September 3, 2017, the case will be re-assigned to another Magistrate Judge
pursuant to Local Rule 73.1. You will then have the option to consent to the newly assigned
presiding judge or the assigned referral judge. You may always decline to consent to a Magistrate
Judge and proceed before a District Judge.

       I thought you would like to know this as you consider your decision on consent. Please
contact my chambers if you have any questions.

                                                     Sincerely,



                                                     William P. Lynch
                                                     United States Magistrate Judge
